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                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                      )
                                                               )                8:12CR107
                           Plaintiff,                          )
                                                               )
         vs.                                                   )                 ORDER
                                                               )
TAMMY L. SCHUCK,                                               )
TABATHA N. ASHBURN and                                         )
CHRISTOPHER J. TIERNEY,                                        )
                                                               )
                           Defendants.                         )


         This matter is before the court on the motions for an extension of time by defendants Tammy Schuck
(Schuck) (Filing No. 42) and Tabatha N. Ashburn (Ashburn) (Filing No. 40). Schuck and Ashburn seek an
extension of thirty days in which to file pretrial motions in accordance with the progression order (Filing No. 24).
Schuck and Ashburn have filed an affidavit wherein they consent to the motion and acknowledge they
understand the additional time may be excludable time for the purposes of the Speedy Trial Act (Filing Nos. 43

and 41). It is represented that government's counsel has no objection to the motions. Previously, the court has

extended the pretrial motion deadline as to co-defendant Tierney (Filing No. 38). Upon consideration, the
motions will be granted.


        IT IS ORDERED:
        Defendant Schuck's and Ashburn's motions for an extension of time (Filing Nos. 42 and 40) are granted.
Schuck and Ashburn are given until on or before August 29, 2012, in which to file pretrial motions pursuant to
the progression order. The ends of justice have been served by granting such motions and outweigh the
interests of the public and the defendants in a speedy trial. The additional time arising as a result of the granting

of the motions, i.e., the time between July 31, 2012, and August 29, 2012, shall be deemed excludable time
in any computation of time under the requirement of the Speedy Trial Act for the reason defendants' counsel
require additional time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in a miscarriage of
justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
        DATED this 31st day of July, 2012.
                                                               BY THE COURT:
                                                               s/ Thomas D. Thalken
                                                               United States Magistrate Judge
